Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.11 Page 1 of 40




                     Exhibit A
          Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.12 Page 2 of 40

                                                                                                                                                  SUM-100

                                           SUMMONS                                                                      (
                                                                                                                            FOR COURT USE ONLY
                                                                                                                         SOLO PARA USO DE LA CORTE)
                                  (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                                    ELECTRONIC          VEILED
(AVISO AL DEMANDADO):                                                                                                   .Supenor Court of California
COSTCO WHOLESALE CORPORATION,a Washington corporation, and DOES 1 through 10,
                                                                                                                          Clerk of the Superior Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                       By Bizabeth Reyes.Deputyr Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):

 DIANA VARGAS, Individually and on Behalf of All Others Similarly Situated,
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courlinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalffomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.govisetthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 OVISO!Lo han demandado. Si no responde dentro de 30 dlas, la code puede decidir en su contra sin escuchar su version. Lea la informed& a
 continuaciOn.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta cited& y papeles legales para presentar una respuesta por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una Ilemada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en format° legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la carte y mas informed& en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al sectetario de la code que
 le da un fonnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la code le podra
 guitar su sueldo, diner° y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla can los requisitos pare obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalffomia.org), en el Centro de Ayuda de las Codes de California,(www.sucorte.ca.gov) o poniandose en contacto con la code o el
 colegio de abogados locales. AVISO:Parley, la carte tiene derecho a reclamar las cuotas y los costos exentos par imponer un gravamen sabre
 cualquier recuperaciOn de $10,0006 mas de valor recibida mediante un acuerrlo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la carte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER:(NUiner° del Caso):
(El nombre y direccion de la code es): Superior Court for the State of California                           37-2022-00003327- CU-8T- CTL
                                       County of San Diego
                                       330 W. Broadway, San Diego, CA 92101
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn ye!nOmero
 de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Marcus J. Bradley- Bradley/Grombacher LLP 31365 Oak Crest Drive, Suite 240, Westlake Village, CA 91361 Tel:(805)270-7100
 DATE:                                                                       Clerk, by                                                            ,Deputy
        01/27/2022                                                                     .  e9-*--e-t%
(Fecha)                                                                      (Secretano)                                                          (A djunto)
(For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
                                      1.         as an individual defendant.
                                     2.    r   1 as the person sued under the fictitious name of (specify).
                                     3.    141 on behalf of(specify): 0 CD-r—C-
                                                                                                 udli)0C-e                                       CovpoviA 0,_
                                                                        0\,(AS       ( vt                    VI  0 190
                                           under: b&2I CCP 416.10 (corporation)                            I   C P 41 .60(minor
                                                  I    CCP 416.20 (defunct corporation)                    I—I CCP 416.70 (conservatee)
                                                  F-1 CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                  I—I other (specify):
                                     4.          by personal delivery on (date)                                                                       Page 1 of 1
 Form Adopted for Mandatory Use                                       SUMMONS                                                Code of Civil Procedure §§ 412.20,465
 Judicial Council of California                                                                                                                  www.courts.ca.gov
 SUM-100 [Rev. July 1.2009]
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.13 Page 3 of 40




                     Exhibit B
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.14 Page 4 of 40




 1    BRADLEY/GROMBACHER,LLP
      Marcus J. Bradley, Esq.(174156)                                     6*     1 -010   4LL
                                                                                        ,;,
 2    Kiley L. Grombacher, Esq.(245960)
                                                                       ,c1,1211 6 44:9t
                                                                                      pn of
      31365 Oak Crest Drive, Suite 240
 3    Westlake Village, California 91361                              0
                                                                       ". 1'126121
                                                                      •c                  • '•-•saiit
                                                                          Ierk of the Superior
      Telephone:(805)270-7100
 4    Facsimile: (805)270-7589                                     43031g0-     ti, RpYqDeputy. Clerli
                                                                                  •            •
      E-Mail: mbradley@bradleygrombacher.com
 5            kgrombacher@bradleygrombacher.com
 6    MAJARIAN LAW GROUP
      Sahag Majarian, Esq.(SBN 146621)
 7    Garen Majarian(SBN 334104)
      18250 Ventura Boulevard
 8    Tarzana, California 91356
      Telephone: (818)609-0807
 9    Facsimile:    (818)609-0892
      E-Mails: sahagii@aol.com
10             garen@majarianlaw.com
11
     Attorneysfor Plaintiffand the Putative Class
12                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       COUNTY OF SAN DIEGO
13

14    DIANA VARGAS,Individually and on Behalf          CASE NO.: 37-2022-001:103327- CU- EIT- CTL
      of All Others Similarly Situated,
                                                       CLASS ACTION COMPLAINT FOR:
15
                           Plaintiffs,                    1. VIOLATIONS OF THE UNFAIR
16
                                                             COMPETITION LAW;
       v.                                                 2. VIOLATIONS OF THE FALSE
17
                                                             ADVERTISING LAW
18    COSTCO WHOLESALE CORPORATION,                       3. VIOLATIONS OF THE
      a Washington corporation, and DOES 1 through           CONSUMERS LEGAL REMEDIES
19    10,                                                    ACT;
                                                          4. UNJUST ENRICHMENT/QUASI
20                         Defendants.                       CONTRACT;
                                                          5. NELIGENT
21                                                           MISREPRESENTATION/OMISSION;
                                                          6. BREACH OF
22                                                           EXPRESSWARRANTY;
                                                          7. BREACH OF IMPLIED
23
                                                             WARRANTY;
24                                                        8. STRICT PRODUCT LIABILITY -
                                                             FAILURE TO WARN;and
25                                                        9. STRICT PRODUCT LIABILITY —
                                                             MANUFACTURING DEFECT
26
                                                       DEMAND FOR JURY TRIAL
27

28
                                          CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.15 Page 5 of 40




 1                                      CLASS ACTION COMPLAINT

 2           Plaintiff, Diana Vargas ("Plaintiff'), individually and on behalf of all others similarly situated

 3    throughout the State ofCalifornia,file this Class Action Complaint("CAC")against Defendant Costco

 4    Wholesale Corporation("Costco" or "Kirkland" or "Defendant"), and in support states the following:

 5                                          NATURE OF THE ACTION

 6           1.     This is a class action lawsuit by Plaintiff, by and through her undersigned attorneys,

 7   against Defendant for its negligent, reckless, and/or intentional practice offailing to fully disclose the

 8   presence of cadmium ("Heavy Metals"), perchlorate, and/or other undesirable toxins or contaminants

 9   in their purchased Kirkland Organic Roasted Seaweed Snack ("Product").

10           2.     The Product is sold throughout the United States and does not conform to its packaging.

11   Plaintiff seeks both injunctive and monetary relief on behalf of the proposed Classes (as defined

12   herein), including restoring monies to the members of the proposed Classes. Plaintiff alleges the

13   following based upon personal knowledge, as well as investigation by their counsel as to themselves,

14   and as to all other matters, upon information and belief. Plaintiff believes that substantial evidentiary

15   support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

16                                          JURISDICTION AND VENUE

17           3.     Plaintiff, on behalf of herself and all others similarly situated, brings this Complaint for

18   declaratory and/or injunctive relief and restitution under California Business & Professions Code

19   §17200, et. seq., §17500, et. seq., California Civil Code §1750, et. seq., and California common law.

20          4.      This Complaint is brought as a class action pursuant to California Code of Civil
21   Procedure §382. The restitution sought by Plaintiff and the putative class members exceed the minimal
22 jurisdiction limits ofthe Superior Court and will be established according to proof at trial.

23           5.     This Court has jurisdiction over Defendant because Defendant is authorized to and

24   conducts business in and across this State of California, including with respect to the Products at issue;

25   and Defendant otherwise has sufficient minimum contacts with and purposefully avails itself of the

26   markets ofthis State,thus rendering the Superior Court'sjurisdiction consistent with traditional notions

27   offair play and substantial justice.

28                                                        2
                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.16 Page 6 of 40




 1           6.      Venue is proper in this judicial district pursuant to California Code of Civil Procedure §

 2   395(b) in that this action arises from an offer or provision of goods intended primary for personal use
 3   and Plaintiff purchased the good(s) at issue in the County of San Diego. The injuries that have been

 4   sustained by Plaintiff as a result of Defendant's illegal conduct occurred in the County of San Diego.

 5   Defendant conducts substantial business in the County of San Diego. Moreover, at all relevant times,

 6   Defendant promoted, marketed and sold its products, including the adulterated Products at issue, to

 7   purchasers in California, including within the County of San Diego.

 8                                                THE PARTIES

 9           7.     Plaintiffresides in Oceanside,California,and at all times relevant hereto has been,a resident

10    ofthe County ofSan Diego. Plaintiff has a membership with Defendant and is in privity with the company.
11   In the last two years Plaintiff purchased the Product at Defendant's retail location in Vista, California,
12   on 4-5 occasions. Plaintiff read and relied on the packaging prior to purchase. During that time,

13   Plaintiff was unaware that Defendant's Product may be adulterated with cadmium. Plaintiff purchased

14   Defendant's Product on the assumption that the labeling of these Products was accurate and that the
15   products were unadulterated, safe and effective. Plaintiff would not have purchased Defendant's Products
16    had she known there was a risk the products may contain Cadmium, a known human carcinogen. As a
17   result, Plaintiffsuffered injury in fact when she spent money to purchase a product she would not otherwise
18    have purchased absent Defendant's misconduct, as alleged herein. Plaintiff would be willing to purchase
19   Products in the future ifshe could be certain that they do not contain(ofhave a material risk ofcontaining)

20   cadmium or other heavy metals and/or contaminants.
21           8.     Defendant is an American multinational corporation which operates a chain ofmembership-

22   only big-box retail stores. Defendant is a Washington corporation and is authorized to do business in

23   California.
24           9.     The use of the term "defendants" or "Defendants" in any of the allegations in this

25   Complaint, unless specifically alleged otherwise, is intended to include and charge, both jointly and

26   severally, not only the Defendants identified in this Complaint, but also all Defendants designated as

27   DOES 1 through 10, inclusive, as though the term "Defendants" was followed in each and every

28                                                        3
                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.17 Page 7 of 40




 1    instance throughout this Complaint with the phrase "and each of them jointly and severally, including
 2    all named Defendants and Defendants included herein and sued under the fictitious names of DOES 1
 3    through 10, inclusive."
 4            10.    Plaintiff is informed and believes, and thereon alleges, that Defendants, at all times

 5    herein mentioned, were the partners, joint venturers, subsidiaries, successors in interest, managing

 6    agent, merged entities, agents, alter egos, part of a jointly owned, managed, and/or operated business

 7    enterprise, and/or employees of each other Defendant and in doing the acts, omissions, and things

 8    alleged herein were acting as such and within the scope oftheir authority as such agents and employees

 9    and with the permission and consent of all other Defendants. Plaintiff is informed and believes, and

10    thereon alleges, that Defendants have,and always herein mentioned had,ajoint economic and business

11    interest, goal and purpose in the products that are the subject of this lawsuit.
12                                                 INTRODUCTION
13   Seaweed Snacks Have Risen in Popularity Due to Purported Health Benefits
14           1 1.    Edible seaweed, also called sea vegetables, are aquatic plants known as algae (either red
15   algae, green algae, or brown algae)that grow in the ocean. Seaweed contains amino acids called glutamates
16    which have a salty, rich, savory taste known as umami.
17           12.     Most often associated with Japanese cuisine, marine algae have been harvested for
18   thousands ofyears for culinary and medicinal purposes in China,Korea,and other countries with significant

19   coastlines. Seaweed is now a regular ingredient in smoothies and dried seaweed snacks are a popular
20   alternative to chips.
21           13.     Such popularity is particularly driven by the purported health benefits ofthe Product which
22   include:
23               • Improved Thyroid Function. Seaweed is an excellent source ofiodine, a vital trace
24                   mineral that plays a critical role in thyroid health. The body doesn't make iodine on its
25                   own,so you need to get it from food sources or supplements. Your thyroid plays a crucial

26                   role in your overall health, and iodine plays a vital role in its ability to function properly.'

27
       https://www.webmd.eom/diet/health-benefits-seaweed#1 (Last viewed 1/19/2022).
28                                                           4
                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.18 Page 8 of 40




 1                   • Improved Gut Health."Seaweed contains both soluble and insoluble fiber, making
 2                      seaweed a great prebiotic source to support gut health," explains dietitian Chelsea
 3                       Gloeckner, MS,RD." These fibers include particular sugars called sulfated
 4                      polysaccharides, which have been shown to increase the growth of'good' gut bacteria and

 5                      also increase the production of short-chain fatty acids(SCFA), which provide support and

 6                      nourishment to the GI tract cell lining," adds dietitian Rachel Fine MS,RD,CSSD,CDN .2

 7                   • Supports Strong Immunity. The underwater wonder contains many immune-boosting

 8                      minerals and vitamins."Seaweed is a source ofa potent antioxidants,including alginate and
 9                      fucoxanthin," says Fine."There is promising research showing potential anti-inflammatory
10                      benefits that may relate to reducing the risk of diabetes and obesity. Thanks to iodine and
11                      an amino acid called tyrosine, the "grass" ofthe sea also benefits the thyroid and may help

12                      prevent thyroid disease. Seaweed also contains polyphenols,"which can support anti-cancer

13                      processes in the body," adds functional medicine expert Dr. Elroy Vojdani, MD.3
14                • Improved Cardiovascular Health. Some studies show that seaweed intake may help to
15                      reduce blood pressure. It may also help to reduce LDL cholesterol and total cholesterol
16                      levels.4
17                • Improved Brain Health. Omega-3 fatty acids,EPA,and DHA found in seaweed are great
18                      cognitive health, which can include improved memory and performance. Some
19                      populations also rely on the food for brain development in children.'
20   Defendant Manufactures, Distributes and Markets a Roasted Seaweed Snack Product Under its
21   Kirkland Signature Brand
22             14.      "Kirkland Signature" is Costco's private label. It is sold by Costco at their website and
23       warehouses, and is trademarked by the company. Many Kirkland Signature products are produced by the
24    same manufacturers as their respective name brands.
25

26   2 https://www.elle.com/beauty/health-fitness/news/a26568/seaweed-snacks-healthy/(last viewed 1/9/2022)
     3 https://www.elle.com/beauty/health-fitness/news/a26568/seaweed-snacks-healthy/(last viewed 1/9/2022)
27   4 https://www.webmd.com/diet/health-benefits-seaweed#1
     5 https://www.elle.com/beauty/health-fitness/news/a26568/seaweed-snacks-healthy/
28                                                           5
                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.19 Page 9 of 40




 1             15.     Defendant promotes its Kirkland brand in a manner such that consumers understand it to

 2       be "synonymous with higher quality and exceptional value.6"
 3             16.     One item in the Kirkland Signature product line is the Kirkland Organic Roasted Seaweed

 4       Snack(defined as "Product" above).

 5             17.     Defendant packages, markets, advertises, manufactures and/or distributes, and sells their

 6    Product at their retail stores throughout the United States, including in the State of California.

 7   Independent Third-Party Lab Testing Has Revealed the Presence of Heavy Metal Contaminants in

 8   the Product

 9             18.     In 2021, ConsumerLabs.com tested dried seaweed and roasted seaweed snacks to determine

10       their iodine content and whether they contained heavy metal contaminants.

11             19.     The testing revealed a single serving contained 6mcg ofcadmium.

12             20.     Cadmium is a natural element in the earth's crust. It is usually found as a mineral combined

13    with other elements such as oxygen (cadmium oxide), chlorine (cadmium chloride), or sulfur (cadmium

14   sulfate, cadmium sulfide)7.
15             21.     Cadmium is a non-essential toxic heavy metal,an environmental toxicant,and toxic at a low

16   concentration, and it has no known beneficial role in the human body. Its exposure induces various health

17   impairments including hostile reproductive health.

18             22.     Long-term exposure to lower levels of cadmium in air, food, or water leads to a buildup of

19   cadmium in the kidneys and possible kidney disease. Other long-term effects are lung damage and fragile

20   bones.8
21

22

23
     6   https://investor.costco.com/static-files/0878117f-7f3f-4a77-a9a5-c11a2534e94d
24
     Ittps://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=47&toxid=154:—:text=The%20FDA%20has%2
25   Odetermined%20that%20the%20cadmium%20concentration,an%208-hour%20workday%2C%2040-
     hour%20workweek.%20Top%20of%20Page (last viewed 1/10/2022)
26
     8https://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=47&toxid=15#:—:text=The%20FDA%20ha
27   s%20determined%20that%20the%20cadmium%20concentration,an%208-hour%20workday%2C%2040-
     hour%20workweek.%20Top%20of%20Page
28                                                           6
                                                CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.20 Page 10 of 40




 1              23.    Cadmium,like lead,"displays a troubling ability to cause harm at low levels ofexposure."9
 2    The U.S. Department of Health and Human Services has determined that cadmium and cadmium
 3    compounds are known human carcinogens and the EPA has likewise determined that cadmium is a probable
 4    human carcinogen.° Compounding such concerns is the fact that cadmium has a prolonged half-life as it

 5 "sequesters in [human]tissue."

 6             24.     The EPA has set a maximum contaminant level for cadmium in drinking water of5 ppb,40

 7    C.F.R.§ 141.62; the FDA has set a maximum level in bottled water to 5 ppb; and the WHO set a maximum

 8    cadmium level in drinking water to 3 ppb. Ex. 1 at 29.

 9             25.     The FDA has acknowledged that exposure to heavy metals including cadmium are "likely

10    to have the most significant impact on public health" and has prioritized them in connection with its heavy
11    metals workgroup looking to reduce the risks associated with human consumption of heavy metals.12
12             26.     The Department ofHealth and Human Services(DHHS)has determined that cadmium and

13    cadmium compounds are known human carcinogens13.

14             27.     At all times during the Class Period, Defendant knew or should have known the Products

15    included undisclosed cadmium and were not sufficiently tested for the presence and material risk of
16    cadmium.
17             28.     Defendant's Products included undisclosed levels ofcadmium due to Defendant's failure to

18    monitor for their presence in the ingredients and finished products. Defendant was aware of this risk and

19    failed to disclose it to Plaintiffand the Class despite having a duty to disclose.

20

21    9   HBBF Report at 14.
22    io Agency for Toxic Substances and Disease Registry,Public Health Statementfor Cadmium, available at
23     https://wwwn.cdc.gov/TSP/PHS/PHS.aspx?phsid=46&toxid=15 (last accessed Sept. 3, 2021)

24      Genuis S.J., Schwalfenberg G., Siy A.-K.J., RodushIcin I.(2012) Toxic Element Contamination ofNatural
       Health Products and Pharmaceutical Preparations,PLOS ONE 7(11): e49676, available at
25     https://doi.org/10.1371/journal.pone.0049676 (last accessed Sept. 3, 2021).

26    12 https://www.fda.gov/food/chem icals-metals-pesticides-food/metals-and-your-food (last viewed 1/11/2022.)
      13https://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=47&toxid=15#:—:text=The%20FDA%20h
27    as%20determined%20that%20the%20cadmium%20concentration,an%208-hour%20workday%2C%2040-
      hour%20workweek.%20Top%20or/020Page (last viewed 1/10/2022)
28                                                           7
                                                CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.21 Page 11 of 40




 1           29.     Defendant knew or should have known that cadmium poses health risks.
 2           30.     Defendant knew or should have known that it owed consumers a duty ofcare to prevent, or
 3    at the very least, minimize the presence ofcadmium in the Products to the extent reasonably possible.
 4           31.     Defendant knew or should have known it owed consumers a duty ofcare to adequately test

 5    for cadmium in the Products.

 6           32.     Defendant knew consumers purchased the Products based on the reasonable expectation

 7    that Defendant manufactured the Products to the highest standards. Based on this expectation, Defendant

 8    knew or should have known consumers reasonably inferred that Defendant would hold the Products to the
 9    highest standards for preventing the inclusion of heavy metals including cadmium in the Products, which
10    would include testing the Products' ingredients and finished products for heavy metals.
11    The Products Are Deceptively Labeled
12           33.     Reasonable consumers, like plaintiff, trust manufacturers like Defendant to sell food that is

13     healthy, nutritious and free rom harmful toxins, contaminants and chemicals
14           34.     Consumers lack the scientific knowledge necessary to determine whether the Defendant's

15    Products do in fact contain Cadmium,and/or other undesirable toxins or contaminants, or to ascertain the
16    true nature ofthe ingredients and quality ofthe Products. Reasonable consumers therefore must and do rely
17    on Defendant to properly and fully disclose what their products contain. This is especially true for a

18    product's contents like cadmium that are material to a reasonable consumer's purchasing decisions.

19           35.     Defendant engaged in a long-term advertising campaign that fails to disclose the presence

20    ofheavy metals such as cadmium.

21           36.     Defendant's packaging emphasizes that the Products' are organic, and made with superior

22    ingredients to justify a premium price and induce reasonable consumers to believe in the quality and safety

23    oftheir products for consumption.

24 / / /

25    ///

26    ///

27    // /

28                                                         8
                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.22 Page 12 of 40




 1

 2

 3

4

 5

6

 7                                    4V,nter Hiv
                                      2U C.,toTi

 8

9

10

11

12

13

14

15
                                            50EN'ing par pack
16                                          Saving gizo     1/50 rAckta
                                                                     ,  451




17                                          Tang Fat i.5g
                                                                  0Apheame
                                                                       2%
                                            ;Saturated Fat Og         0%
                                            ^ Tim Fat 0g             • 41,
18                                          Chotegtotof OrKig         0%
                                            Sodium 40mg       ns       2/4
                                            Total CarbolrgInte Og
19                                            Digtmy Miff
                                              TOW ago Og           ,
                                                                      0%

                                             `— kw:W.1400 kfdafSuggeS 0%

20                                           rota,. IS




21

22

23

24           37.     Based on the impression given by the packaging, no reasonable consumer could expect

25    or understand that the Products contained cadmium.

26           38.     Yet, the Product does contain dangerous heavy metals such as cadmium. Defendants

27    fail to disclose to consumers that the Products contain (or have a material risk ofcontaining) cadmium

28                                                                            9
                                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.23 Page 13 of 40




 1    and/or other undesirable toxins or contaminants. Nowhere on the Products' packaging is it disclosed
 2    that they contain (or have a material risk of containing) Heavy Metals and/or other undesirable toxins

 3    or contaminants (hereinafter collectively referred to as "Omissions").

 4           39.     Based on the Omissions,no reasonable consumer had any reason to know or expect that
 5    the Products contained cadmium and/or other undesirable toxins or contaminants. Furthermore,

 6    reasonable consumers would consider the mere presence (or risk) of cadmium, heavy metals and/or

 7    other undesirable toxins or contaminants a material fact when considering whether to purchase the

 8    Product.
 9           40.     Based on Defendant's decision to wholly omit mention of the presence of cadmium,
10    heavy metal and/or other undesirable toxins or contaminants in the Products, and to instead advertise,
11    package, and market their Products as healthy, nutritious, and organic, claims which were bolstered by
12    images ofthe seaweed snack on the packaging, they had a duty to ensure that these statements and the

13    message portrayed by the packaging's imagery were true and not misleading. As such, Defendant knew
14    or should have known the Products included nondisclosed cadmium, and/or other undesirable toxins
15    or contaminants and that over time, these toxins can accumulate to their detriment.
16           41.     As a result ofthe material Omissions,a cadmium,heavy metals and/or other undesirable
17    toxins or contaminants in the Products without conducting his or her own scientific tests (which are

18    time consuming and expensive) or reviewing third-party scientific testing ofthese products.

19           42.     Defendant knows that their customers trust the quality of their products and expect the

20 Product to be free of cadmium, heavy metals, and/or other undesirable toxins or contaminants. They

21    also know their consumers seek out and wish to purchase a product that possess "high quality"

22    ingredients free of toxins, contaminants, or chemicals, and that these consumers will pay more for

23    products they believe possess these qualities.
24           43.     Defendant knew consumers would find the Omissions material. The Omissions are

25    deceptive, misleading, unfair, and/or false because the Product contain undisclosed levels ofcadmium,

26    heavy metals, and/or other undesirable toxins or contaminants.

27

28                                                      10
                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.24 Page 14 of 40




 1           44.        The Omissions allowed Defendant to capitalize on, and reap enormous profits from,

 2    reasonable consumers who paid a premium price for the Product that omitted material information as

 3    to the foods' true quality and value. Defendant continues to wrongfully induce consumers to purchase

 4    their Products.
 5           45.        The Omissions were intended to and did, in fact, cause consumers like Plaintiffs and

 6    the members ofthe Class, to purchase products they would not have ifthe true quality and ingredients

 7    were disclosed or for which they would not have paid a premium price.

 8    CLRA Exhaustion
 9           46.     Pursuant to § 1782 ofthe CLRA,Plaintiff has provided pre-suit notice to Defendant of
10    the particular violations of § 1770 of the CLRA and demanded that Defendant rectify the problems
11    associated with the actions detailed herein, which Defendant has thus far failed to do. Plaintiffintends
12    to amend her complaint to add a claim for damages under the. CLRA after full exhaustion.

13                                         CLASS ALLEGATIONS
14
             47.     Plaintiff brings this action under California Code of Civil Procedure §382 as a class
15
      action and seeks certification of the following class against Defendant for violations of state laws and
16
      federal laws (the "Classes"):
17
                     Nationwide Class
18                   All consumers who purchased the Product in the United States between
19                   January 26, 2018, household or business use, and not for resale and the
                     dates ofjudgment in this action.
20
                     California Class
21                   All consumers who purchased the Product in the State of California
                     between January 26, 2018, household or business use, and not for resale
22                   and the dates ofjudgment in this action.
23
                     Excluded from the Classes are individuals who allege personal bodily
24                   injury resulting from the use ofProduct(s). Also excluded from this Class
                     are Defendant, any parent companies, subsidiaries, and/or affiliates,
25                   officers, directors, legal representatives, employees, co-conspirators, all
                     governmental entities, and any judge,justice or judicial officer presiding
26
                     over this matter.
27

28                                                        11
                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.25 Page 15 of 40




 1           48.     The members of the Class are so numerous that joinder of all members of the Class is
 2    impracticable. Plaintiff is informed and believes that the proposed Class contains thousands of

 3    purchasers of the Products who have been damaged by Defendant's conduct as alleged herein. The

 4    precise number of Class members is unknown to Plaintiff at this time.

 5           49.     Plaintiffs claims are typical to those of all class members because members ofthe class

 6    are similarly injured through Defendant's uniform misconduct described above and were subject to

 7    Defendant's deceptive packaging that accompanied each and every Product. Plaintiff is advancing the

 8    same claims and legal theories on behalf of himself and all members of the Class.
 9           50.     Plaintiff's claims raise questions of law and fact common to all members of the Class,

10    and they predominate over any questions affecting only individual Class members. The claims of

11    Plaintiff and all prospective Class members involve the same alleged defect. These common legal and

12 factual questions include the following:

13                  (a) whether Defendant's Products contained cadmium;

14                  (b) whether Defendant's omissions are true, or are misleading, or objectively

15                     reasonably likely to deceive.
                    (c) whether the alleged conduct constitutes violations of the laws asserted;
16

17                  (d) whether Defendant's alleged conduct violates public policy;

18                  (e) whether Defendant engaged in false or misleading advertising;

19                  (f) whether Plaintiff and the Class members are entitled to damages and/or
20
                         restitution and the proper measure of that loss; and
21
                    (g) whether an injunction is necessary to prevent Defendant from continuing to
22
                         market and sell defective and adulterated Products that contain cadmium, a
23
                         known human carcinogen.
24

25           51.     Plaintiff and their counsel will fairly and adequately protect and represent the interests
26    ofeach member of the class. Plaintiff has retained counsel experienced in complex litigation and class
27    actions. Plaintiffs counsel has successfully litigated other class action cases similar to that here and
28                                                       12
                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.26 Page 16 of 40




 1    have the resources and abilities to fully litigate and protect the interests ofthe class. Plaintiffintends to
2     prosecute this claim vigorously. Plaintiff has no adverse or antagonistic interests to those of the Class,

 3    nor is Plaintiff subject to any unique defenses.

4            52.      A class action is superior to the other available methods for a fair and efficient

5     adjudication of this controversy. The damages or other financial detriment suffered by Plaintiff and

6     individual Class members are relatively small compared to the burden and expense that would be

 7    entailed by individual litigation of their claims against Defendant. It would thus be virtually impossible

 8    for Plaintiff and Class members,on an individual basis, to obtain effective redress for the wrongs done

9     to them. Further, it is desirable to concentrate the litigation ofthe Class members' claims in one forum,

10    as it will conserve party and judicial resources and facilitate the consistency of adjudications. Plaintiff

11    knows of no difficulty that would be encountered in the management of this case that would preclude

12    its maintenance as a class action.

13           53.      The Class also may be certified because Defendant has acted or refused to act on

14    grounds applicable to the Class, thereby making appropriate final declaratory and/or injunctive relief

15    with respect to the members ofthe Class as a whole.

16           54.     Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf of

17    the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent Defendant

18    from engaging in the acts described above, and requiring Defendant to provide full restitution in the

19    form of a refund of the full purchase price of the Products to Plaintiffs and Class members.

20           55.      Unless a Class is certified, Defendant will retain monies received as a result of their

21    conduct that were taken from Plaintiffand the Class members. Unless a Class-wide injunction is issued,
22    Defendant will continue to commit the violations alleged, and the members ofthe Class and the general

23    public will continue to be misled.

24    ///

25    ///

26    ///

27    // /

28                                                          13
                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.27 Page 17 of 40




 1                                         FIRST CAUSE OF ACTION

 2            (Violations of the Unfair Competition Law (the "UCL"),Cal. Bus.& Prof. Code §

 3                    17200,Et Seq. Against Defendant on Behalf of the California Class)

 4            56.    Plaintiff incorporates by references and re-alleges each and every allegation contained

 5    above, as though fully set forth herein.

 6            57.    The UCL prohibits any "unlawful, unfair or fraudulent business act or practice and

 7    unfair, deceptive, untrue or misleading advertising...." Cal. Bus. & Prof. Code § 17200.

 8    Fraudulent Acts and Practices

 9            58.    Any business act or practice that is likely to deceive members of the public constitutes

10    a fraudulent business act or practice under the UCL. Similarly, any advertising that is deceptive, untrue

11    or misleading constitutes a fraudulent business act or practice under the UCL.

12            59.    Defendant has engaged, and continues to engage, in conduct that is likely to deceive

13    members of the public. This conduct includes representing in their labels that their Products contain

14    only the ingredients listed in the label, which is untrue, and failing to make any mention that the

15    Products are adulterated with cadmium, a known human carcinogen.

16            60.    Similarly, Defendant has engaged, and continues to engage, in deceptive, untrue, and

17    misleading advertising by "promising" to consumers, among other things that the ingredients are

18 "organic when in fact the Products may contain a known (but undisclosed) human carcinogen (i.e.

19    cadmium).

20            61.    By committing the acts alleged above, Defendant has engaged in fraudulent business

21    acts and practices, which constitute unfair competition within the meaning of Business & Professions

22    Code §17200.

23    Unlawful Acts and Practices

24            62.    As alleged herein, Defendant's failure to disclose the presence (or risk of presence) of

25    cadmium and/or other undesirable toxins or contaminants in the Products violate at least the following

26    laws:

27

28                                                         14
                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.28 Page 18 of 40




 1               • The CLRA,California Business & Professions Code §§1750, et seq.; and

 2                 • The False Advertising Law, California Business & Professions Code §§17500, et. seq.
 3    Unfair Acts and Practices
 4           63.       Any business practice that offends an established public policy or is immoral, unethical,

 5    oppressive, unscrupulous, or substantially injurious to consumers constitutes an "unfair" practice under

 6    the UCL.
 7           64.      Defendant's conduct with respect to the packaging and sale of the Products is unfair
 8    because Defendant's conduct was immoral, unethical, unscrupulous, or substantially injurious to
 9    consumers and the utility of their conduct, if any, does not outweigh the gravity of the harm to their
10    victims.
11           65.      Defendant's conduct with respect to the packaging and sale ofthe Products is also unfair

12    because it violates public policy as declared by specific constitutional, statutory, or regulatory

13    provisions, including, but not limited to, the False Advertising Law.

14           66.      Defendant's conduct with respect to the packaging and sale ofthe Products is also unfair
15    because the consumer injury is substantial, not outweighed by benefits to consumers or competition,
16    and not one that consumers, themselves, can reasonably avoid.
17           67.      Defendant was obligated to disclose the presence of cadmium,and/or other undesirable
18    toxins or contaminants in the Products because:
19                  (a) Defendant had exclusive knowledge ofthe presence of cadmium and/or other
20                   undesirable toxins or contaminants in the Products that were not known or reasonably
21                   accessible to Plaintiff and the Class;
22                  (b)Defendant actively concealed the presence of cadmium and/or other undesirable
23                   toxins or contaminants from Plaintiff and the Class; and
24                  (c) Defendant made partial statements on the Product's packaging that gave a misleading

25                   impression to reasonable consumers without further information because the presence of

26                   cadmium and/or other undesirable toxins or contaminants had not been disclosed.

27

28                                                            15
                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.29 Page 19 of 40




 1           68.     The Omissions were contrary to the representations Defendant made on the Product's
 2    packaging.

 3           69.     Plaintiff and the Class relied upon the Products' packaging provided to them by
 4    Defendant when making their purchasing decisions. Had Plaintiff and the Class known Defendants

 5    failed to disclose the presence of cadmium and/or other undesirable toxins or contaminants from their

6     packaging, they would not have purchased the Products.

 7           70.     By committing the acts described above, Defendant has engaged in unfair business acts

 8    and practices which constitute unfair competition within the meaning of the UCL.

 9           71.     In accordance with California Business & Professions Code §17203, Plaintiff seeks an

10    order enjoining Defendant from continuing to conduct business through fraudulent or unlawful acts and
11    practices and to commence a corrective advertising campaign. Defendant's conduct is ongoing and
12    continuing, such that prospective injunctive relief is necessary.

13           72.     On behalf of themselves and the Class, Plaintiff also seeks an order for the restitution of

14    all monies from the sale ofthe Products, which were unjustly acquired through acts offraudulent, unfair,
15    or unlawful competition. In addition, because there is a risk the Products contain cadmium, a known

16    human carcinogen, the measure ofrestitution should be rescission and full refund insofar as the Product
17    products and their associated labels are worthless. But for Defendant's misrepresentations and

18    omissions, Plaintiff would have paid nothing for Products that have a risk ofcontaining a known human

19    carcinogen (i.e. cadmium). Indeed, there is no discernible "market" for a snack product that may be

20    adulterated with a known human carcinogen. As a result, the Products are rendered valueless.
21                                           SECOND CAUSE OF ACTION

22            (Violations of California's False Advertising Law,California Business & Professions Code

23                   §§17500,Et. Seq., Against Defendant on Behalf of the California Class)

24           73.     Plaintiff incorporates by reference and re-alleges each and every allegation contained

25    above, as though fully set forth herein.

26           74.     California's False Advertising Law prohibits any statement or omission in connection

27    with the sale of goods "which is untrue or misleading." Cal. Bus. & Prof. Code §17500.

28                                                         16
                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.30 Page 20 of 40




 1           75.      As set forth herein, Defendant's failure to disclose the presence (or risk of presence) of
 2    cadmium and/or other undesirable toxins or contaminants in the Product is likely to deceive the public.

 3           76.      Defendant knew that the Products contained undisclosed levels ofcadmium and/or other

4     undesirable toxins or contaminants, which are potentially dangerous substances. Defendant had a duty

 5    to disclose the presence of cadmium and/or other undesirable toxins or contaminants and by omitting

6     their presence, misled consumers.

 7           77.      Defendant knew, or reasonably should have known, that these omissions were

 8    misleading.
 9           78.      Defendant's conduct is ongoing and continuing, such that prospective injunctive relief is
10    necessary, especially given Plaintiffs desire to purchase these products in the future if she can be
11    assured that, so long as the Products are as advertised: healthy, nutritious, organic, and safe for
12    consumption, and do not contain cadmium, heavy metals, and/or other undesirable toxins or

13    contaminants.
14           79.      Plaintiff and members of the Class are entitled to injunctive and equitable relief, and
15    restitution in the amount they spent on the Products.
16                                         THIRD CAUSE OF ACTION

17             (Violations of the Consumers Legal Remedies Act(the "CLRA"),Cal. Bus.&

18              Prof. Code § 1750,et seq. Against Defendant on Behalf of the California Class)

19           80.      Plaintiff incorporates by reference and re-alleges each and every allegation contained

20    above, as though fully set forth herein.
21           81.      Defendant has employed or committed methods, acts, or practices declared unlawful by

22    Cal. Civ. Code §1770 in connection with the products by representing that the Product's ingredient do

23    not contain cadmium.

24           82.      In particular, Defendant's failure to list cadmium as an ingredient in the products and

25    representations regarding the safety and nature ofthe ingredients in the products violates California Civil

26    Code § 1770(a), under the following subdivisions:

27

28                                                         17
                                                 CLASS ACTION COMPLAINT
      Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.31 Page 21 of 40




 1                    (5) by representing that the products have characteristics, uses and/or benefits which
 2                    they do not;
 3                   (7)by representing that the products were of a particular standard, quality, or grade
 4                    which they are not;
 5                   (9) by advertising the products with intent not to sell them as advertised; and

 6                   (16) by representing that the products have been supplied in accordance with previous

 7                     representations when they have not.

 8            83.     Pursuant to § 1780(a) of the CLRA, Plaintiff seeks injunctive relief in the form of an

 9     order enjoining the above-described wrongful acts and practices ofDefendant including, but not limited
10     to, an order enjoining Defendant from distributing such false advertising and misrepresentations.
•11    Plaintiff, the members ofthe California Class, and the public at large shall be irreparably harmed ifsuch
12     an order is not granted.

13            84.     On January 22, 2022, Plaintiff provided notice to Defendant pursuant to California Civil

14     Code §1782 for violations of the CLRA on behalf ofthemselves and similarly situated individuals.

15            85.     Plaintiff is not presently seeking monetary damages under the CLRA. Plaintiff reserves
16     the right to amend this Complaint to include a request for damages under the CLRA after complying
17     with Civil Code 1782(a).
18                                        FOURTH CAUSE OF ACTION
19
          (Unjust Enrichment/Quasi Contract - Against Defendant on Behalf of the Classes)
20            86.     Plaintiff incorporates by references and re-alleges each and every allegation contained
21     above, as though fully set forth herein.
22            87.     Plaintiff and members of the class conferred upon Defendant non-gratuitous payments
23     for Products that they would not have due to Defendant's deceptive labeling, advertising, and marketing.
24     Defendant accepted or retained the non-gratuitous benefits conferred by them with knowledge and
25
       awareness that, as a result of Defendant's deception, the Plaintiff and members of the class were not
26     receiving a product of the quality, nature, fitness, or value that had been represented by Defendant and
27     reasonable consumers would have expected.
28                                                          18
                                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.32 Page 22 of 40




 1            88.    Defendant has been unjustly enriched in retaining the revenues derived from purchases
 2    ofthe Products by the Plaintiff and members ofthe Class, which retention under these circumstances is
 3    unjust and inequitable because the Products contain cadmium.
 4           89.     Retaining the non-gratuitous benefits conferred upon Defendant by the Plaintiff and
 5    members of the Class under these circumstances made Defendant's retention of the non-gratuitous

 6    benefits unjust and inequitable. Thus,Defendant must pay restitution to the Plaintiff and Class for their

 7    unjust enrichment, as ordered by the Court.

 8                                         FIFTH CAUSE OF ACTION
 9            (Negligent Misrepresentation/Omission - Against Defendant on Behalf ofthe Classes)
10           90.     Plaintiff incorporates by references and re-alleges each and every allegation contained
11    above, as though fully set forth herein.
12           91.     In making representations of fact to Plaintiff and the Class members about the Products,

13    Defendant failed to fulfill its duty to disclose that the products contained cadmium.
14           92.     Additionally, Defendant made false representations regarding the quality and safety of
15    the products and their ingredients as detailed above.
16           93.     Such failure to disclose on the part of Defendant amounts to negligent omission and the
17    representations regarding the product amount to negligent misrepresentation.
18           94.     Plaintiff and the other members ofthe Class reasonably relied upon such representations
19    and omissions to their detriment.

20           95.     By reason thereof, Plaintiff and the other Class members have suffered damages in an
21    amount to be proven at trial.
22                                         SIXTH CAUSE OF ACTION
23
                    (Breach of Express Warranty - Against Defendant on Behalf of the Classes)
24           96.     Plaintiff incorporates by references and re-alleges each and every allegation contained
25
       above, as though fully set forth herein.
26           97.     Defendant through its packaging, and written and media advertisement, expressly
27     warranted that the Products were safe and fit for the purposes intended, that they were of merchantable
28                                                       19
                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.33 Page 23 of 40




 1     quality, and that they did not pose dangerous health risks.
 2            98.     Plaintiffand the Class read and relied on these express warranties provided by Defendant
 3     in the packaging and written advertisements.
 4            99.     Defendant breached its express warranties because the Products are defective and not

 5    reasonably safe for their intended use.
 6            100.    Defendant knew or should have known that the Products did not conform to their express

 7    warranties and representations and that, in fact, the products are not safe and pose serious health risks

 8    because they contain cadmium.
 9            101.    Plaintiffand the Class have suffered harm on account ofDefendant's breach ofits express
10    warranty regarding the fitness for use and safety of the Products and are entitled to damages to be
11    determined at trial.
12                                       SEVENTH CAUSE OF ACTION
13
                (Breach of Implied Warranty - Against Defendant on Behalf of the Class)
14            102.    Plaintiff incorporates by references and re-alleges each and every allegation contained
15
      above, as though fully set forth herein.
16            103.    Because the. Products contained cadmium, they were not of the same quality as those
17    generally acceptable in the trade and were not fit for the ordinary purposes for which such products are
18    used.
19            104.    As alleged the products were not adequately labeled and did not disclose that they contain
20    cadmium.
21            105.    The products did not measure up to the promises or facts stated in the sales literature and
22    communications by and from Defendant.
23            106.    Defendant impliedly warranted that the Products were merchantable, fit and safe for
24    ordinary use.
25            107.    Defendant further impliedly warranted that the Products were fit for the particular
26    purposes for which it was intended and sold.
27

28                                                         20
                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.34 Page 24 of 40




 1             108.     Contrary to these implied warranties, the Products were defective, unmerchantable, and
 2    unfit for their ordinary use when sold, and unfit for the particular purpose for which they were sold.
 3                                          EIGHTH CAUSE OF ACTION
 4             (Strict Product Liability — Failure to Warn - Against Defendant on Behalf ofthe Class)

 5              109.    Plaintiff incorporates by reference and re-alleges each and every allegation contained

 6    above, as though fully set forth herein.

 7              1 10.   Defendant knew or should have known that their products contained cadmium which is
 8    a known carcinogen.

 9              111.    Defendant had a duty to warn Plaintiff and the Class about the dangers of the presence
10    ofcadmium in Defendant's Products.
11              1 12.   Defendant knew that the risk of exposure to cadmium from use of its products was not
12    readily recognizable to an ordinary consumer and that consumers would not inspect the product for

13    cadmium content.
14              1 13.   Defendant did not warn Plaintiff and the Class that the Products contained cadmium.
15              114.    Plaintiff and the Class were injured by the use of the Products in a manner promoted by
16    Defendant, and in a manner that was reasonably foreseeable by Defendant because cadmium is a known
17    carcinogen that is absorbed through the skin.
18              1 15.   Plaintiff and the Class were justified in their reliance on Defendant's advertising of the
19    product for use as sunscreen.
20              1 16.   Plaintiffs and the Class are therefore entitled to damages in an amount to be proven at
21    trial.
22
                                            NINTH CAUSE OF ACTION
23
                                (Strict Product Liability — Manufacturing Defect —
24
                                      Against Defendant on Behalf of the Class)
25
               1 17.    Plaintiff incorporates by references and re-alleges each and every allegation contained
26
      above, as though fully set forth herein.
27

28                                                          21
                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.35 Page 25 of 40




 1           118.    The Products contained a manufacturing defect when they left the possession of

 2    Defendant. They differ from Defendant's intended result because they contain cadmium.

 3           1 19.   Plaintiff used the products in a way that was reasonably foreseeable to Defendant.

 4           120.    As a result of the defects in the manufacture of the products, Plaintiff and the Class

 5    suffered injuries from exposure to cadmium.

 6           121.    Accordingly, Plaintiff seeks damages to be determined at trial.

 7
                                             PRAYER FOR RELIEF
 8
             WHEREFORE,Plaintiff, individually and on behalf of all others similarly situated, pray for
 9
      judgment against the Defendant as to each and every count, including:
10
             A.      An order declaring this action to be a proper class action, appointing Plaintiff and their
11
                     counsel to represent the Class, and requiring Defendant to bear the costs of class notice;
12
             B.      An order enjoining Defendant from selling the Products;
13
             C.      An order enjoining Defendant from suggesting or implying that they are safe and
14
                     effective for human application;
15
             D.      An order requiring Defendant to engage in a corrective advertising campaign and
16
                     engage in any further necessary affirmative injunctive relief, such as recalling existing
17
                     Product products;
18
             E.      An order awarding declaratory relief, and any further retrospective or prospective
19
                     injunctive relief permitted by law or equity, including enjoining Defendant from
20
                     continuing the unlawful practices alleged herein, and injunctive relief to remedy
21
                     Defendant's past conduct;
22
             F.      An order requiring Defendant to pay restitution to restore all funds acquired by means
23
                     of any act or practice declared by this Court to be an unlawful, unfair, or fraudulent
24
                     business act or practice, untrue or misleading advertising, or a violation of the Unfair
25
                     Competition Law or other California law, plus pre- and post-judgment interest thereon;
26
             G.      An order requiring Defendant to disgorge or return all monies, revenues, and profits
27
                     obtained by means of any wrongful or unlawful act or practice;
28                                                       22
                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.36 Page 26 of 40




 1          H.     An order requiring Defendant to pay all actual and statutory damages permitted under

2                  the counts alleged herein;

 3          I.     An order awarding attorneys' fees and costs to Plaintiffs and the Class; and

4           J.     An order providing for all other such equitable relief as may be just and proper.

 5
      DATED: January 26, 2022                     BRADLEY/GROMBACHER,LLP
6                                                 MAJARIAN LAW GROUP
 7

 8                                                By:
                                                          Kiley L. Grombacher
9                                                         Marcus J. Bradley
                                                          Sahag Majarian, II
10
                                                          Garen Majarian
11                                                        Attorneysfor Plaintiffand the Putative Class
12                                     DEMAND FOR JURY TRIAL
13         Plaintiff demands a trial by jury on all issues so triable.
14

15    DATED: January 26, 2022                     BRADLEYGROMBACHER,LLP
                                                  MAJARIAN LAW GROUP
16

17                                                                                1436001411•Zok.




18                                                By:
                                                          Kiley L. Grombacher
19                                                        Marcus J. Bradley
                                                          Sahag Majarian, II
20                                                        Garen Majarian
21                                                        Attorneysfor Plaintiffand the Putative Class

22

23

24

25

26

27

28                                                      23
                                            CLASS ACTION COMPLAINT
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.37 Page 27 of 40




                     Exhibit C
            Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.38 Page 28 of 40
DocuSign Envelope ID: 8CE15167-91F1-4D10-9673-96C9C4065CDA




        1    BRADLEY/GROMBACHER,LLP
             Marcus J. Bradley, Esq.(SBN 174156)
       2                                                                     tILEcTRotiicALLvE:fEED
             Kiley L. Grombacher, Esq.(SBN 245960)                             q1ki:lorgiii"#fof California-
       3     31365 Oak Crest Drive, Suite 240                                •    Counte of San Diego

       4
             Westlake Village, California 91361                               *004
             Telephone:(805)270-7100
             Facsimile: (805)270-7589                                                                4Z-t4r4:
       5     E-Mails: mbradley@bradleygrombacher.com
                     kgrombacher@bradleygrombacher.com
       6

       7     MAJARIAN LAW GROUP
             Sahag Majarian, Esq.(SBN 146621)
       8     Garen Majarian(SBN 334104)
             18250 Ventura Boulevard
       9
             Tarzana, California 91356
      10     Telephone: (818)609-0807
             Facsimile:    (818)609-0892
      11     E-Mails: sahagii@aol.com

      12
             Attorneysfor Plaintiffand the Putative Class
      13
                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
      14
                                                        COUNTY OF SAN DIEGO
      15

      16      DIANA VARGAS,Individually and on Behalf              CASE NO.: 37-2022-00003327-CU-BT-CTL
              of All Others Similarly Situated,
                                                                   CLASS ACTION
      17
                                     Plaintiffs,
      18
                                                                   DECLARATION OF PLAINTIFF DIANA
      19      V.                                                   VARGAS RE: VENUE

      20      COSTCO WHOLESALE CORPORATION,
              a Washington corporation,
      21
                                     Defendant.
      22

      23

      24

      25

      26

      27

      28
                                                               1
                                   DECLARATION OF PLAINTIFF DIANA VARGAS RE: VENUE
            Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.39 Page 29 of 40
DocuSign Envelope ID: 8CE151B7-91F1-4D10-9673-96C9C4D65C0A




        1                                       DECLARATION OF DIANA VARGAS
       2        I,Diana Vargas, state and declare as follows:
       3             1.      I have personal knowledge of the matters stated herein except as to those matters stated
       4     on information and belief, which I believe to be true.
       5            2.       If called and sworn as a witness, I could and would testify truthfully and competently to
       6     the matters stated herein.
       7            3.       I am the named Plaintiff in the above-captioned action and submit this Declaration
       8     pursuant to California Civil Code section 1780(d).
       9            4.       I currently reside in Oceanside, California, located in San Diego County, California.
      10            5.       I am informed and believe that Defendant Costco Corporation ("Costco"), is a
      11     Washington corporation, has its principal place of business in Washington State and is doing business
      12     in San Diego County. San Diego County is within the jurisdiction of the California Superior Court,
      13     County San Diego. Accordingly, the California Superior Court, County of San Diego, which is located
      14     in San Diego, California, is the proper place for the trial of this action under California Civil Code
      15     section 1780(d), and this action is properly commenced in that Court.
      16            I declare under penalty of perjury, under the laws ofthe State of California that the foregoing is
      17     true and correct.
                                     25th
      18            Executed this           day of January, 2022, at Oceanside, California.
      19
                                                                LDoc,...00p
      20                                                       A  YY1A)
                                                             DI ' Erik/tows
      21

      22

      23

      24

      25

      26

      27

      28
                                                                  2

                                   DECLARATION OF PLAINTIFF DIANA VARGAS RE: VENUE
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.40 Page 30 of 40




                     Exhibit D
           Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.41 Page 31 of 40
                                                                                      CM-010
 ATTORNEY OR PARTY 1MTHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                              FOR COURT USE ONLY
 Marcus J. Bradley(SBN 174156) / Kiley L Grombacher(SBN 245960)
 BRADLEY/GROMBACHER LLP
 31365 Oak Crest Drive, Suite 240
 Westlake Village, California 91361                                                                              tCtetketita ,. ILO
        TELEPHONE NO.: 806-270-7100            FAX NO.(Optional): 805-270-7589                                                                      _
   ATTORNEY FOR (Name): Plantiff DIANA VARGAS                                                                      '
                                                                                                                   . ,dii:cit•ceAfs:! giAje•let-'• -

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                  '  00:20202              - 1403
 STREET ADDRESS:330 W. Broadway                                                                                ;• •Ibleff,t;ijf: AWtUkiiiil:pbtirt„ ,.
 MAILING ADDRESS:330 W. Broadway                                                                              .-1§' ,::iiiii,b44
                                                                                                                              . 67'110Y.' qi's.:0#1-36t, \f,':,..blir:4:
CITY AND ZIP CODE:san Diego, California 92101
    BRANCH NAME:Central Division
CASE NAME:
DIANA VARGAS, et al. v. COSTCO WHOLESALE CORPORATION, et al.
          CIVIL CASE COVER SHEET                               Complex Case Designation                    CASE NUMBER:
     x     Unlimited                  j Limited                Counter               Joinder        37-2022-00003327-C U-BT-CTL
          (Amount                       (Amount
                                                       Filed with first appearance by defendant JUDGE:
          demanded                      demanded is                                                     Judge Carolyn Caietti
                                                          (Cal. Rules of Court, rule 3.402)      DEPT.:
          exceeds $25000)
                     ,                  $25,000)
                                         Items 1-6 below must be completed(see instrudtions on page 2).
 1. Check one box below for the case type that best describes this case:
         Auto Tort                                         Contract                                     Provisionally Complex Civil Litigation
      pi A•     uto (22)                                      Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
               Uninsured motorist(46)                     ni Rule 3.740 collections (09)                       Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property         n Other collections (09)                             Construction defect (10)
         Damage/Wrongful Death) Tort                                                                           Mass tort (40)
                                                          I 1 Insurance coverage (18)
      -
      I 1 Asbestos (04)                                                                                        Securities litigation (28)
                                                          n Other contract (37)
      F-1 Product liability (24)                                                                              Environmental/Toxic tort (30)
                                                          Real Property
      ▪       M• edical malpractice (45)                                                                      Insurance coverage claims arising from the
                                                          I I Eminent domain/Inverse                          above listed provisionally complex case
      ▪     O• ther PI/PD/WD (23)                               condemnation (14)
                                                                                                              types (41)
      Non-PI/PD/WD (Other) Tort                           n Wrongful eviction (33)                      Enforcement of Judgment
              Business tort/unfair business practice (07) n Other real property (26)                          Enforcement of judgment (20)
              Civil rights (08)                           Unlawful Detainer
                                                                                                        Miscellaneous Civil Complaint
              Defamation (13)                             n     Commercial (31)
                                                                                                        n RICO (27)
              Fraud (16)                                  n Residential (32)
                                                                                                               Other complaint (not specified above) (42)
              Intellectual property (19)                  ni Drugs (38)                                 Miscellaneous Civil Petition
              Professional negligence (25)                 Judicial Review
                                                                  Asset forfeiture (05)                 n Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)
      Employment                                                  Petition re: arbitration award (11)   I-1 Other petition (not specified above) (43)
      n Wrongful termination (36)                                 Writ of mandate (02)
      n Other employment (15)                                     Other judicial review (39)
2.  This case I-1 is                is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.         Large number of separately represented parties      d. 1-7 Large number of witnesses
   b. 1-7 Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c. 1=1 Substantial amount of documentary evidence                         court
                                                                  f.               1 1
                                                                             Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. -  1   1 monetary b. X nonmonetary; declaratory or injunctive relief c.               punitive
4. Number of causes of action (specify): Nine (g)
5. This case I—I is          I—I is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: January 26, 2022
     Kiley L. Grombacher
                            (TYPE OR PRINT NAME)                                                              (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                         NOTICE
  •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                              Page 1 012
Form Adopted for Mandatory Use                                                                                   Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California                               CIVIL CASE COVER SHEET                                      Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1,2007]                                                                                                                                 www.courts.ca.gov
        Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.42 Page 32 of 40
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                     Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property             Breach of ContractNVarranty(06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
       Uninsured Motorist(46)(if the                       Contract (not unlawful detainer             Construction Defect(10)
       case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort(40)
        motorist claim subject to                     Contract/VVarranty Breach—Seller                 Securities Litigation (28)
       arbitration, check this item                        Plaintiff(not fraud or negligence)          Environmental/Toxic Tort(30)
       instead of Auto)                               Negligent Breach of Contract/                    Insurahce Coverage Claims
 Other PI/PD/WD (Personal Injury/                          Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                      Other Breach of Contract/Warranty                      case type listed above)(41)
 Tort                                             Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                    book accounts)(09)                            Enforcement of Judgment(20)
        Asbestos Property Damage                      Collection Case—Seller Plaintiff                   Abstract of Judgment(Out of
        Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
              Wrongful Death                               Case                                     Confession of Judgment(non-
     Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental)(24)                     complex)(18)                                  Sister State Judgment
      Medical Malpractice (45)                        Auto Subrogation                              Administrative Agency Award
          Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons              Other Contract(37)                                 Petition/Certification of Entry of
     Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
            Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
     Other PI/PD/WD (23)                       Real Property                                               Case
          Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
               and fall)                              Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                             Other Complaint (not specified
              (e.g., assault, vandalism)          Other Real Property (e.g., quiet title)(26)             above)(42)
          Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
               Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                     Quiet Title                                              harassment)
                Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PUPD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
         Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
          false arrest)(not civil                 Drugs (38)(if the case involves illegal            Partnership and Corporate
           harassment)(08)                        drugs, check this item; otherwise,                     Govemance (21)
     Defamation (e.g., slander, libel)            report as Commercial or Residential)               Other Petition (not specified
          (13)                                 Judicial Review                                           above)(43)
     Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
         Legal Malpractice                            Writ—Administrative Mandamus                            Abuse
         Other Professional Malpractice               Writ—Mandamus on Limited Court                     Election Contest
            (not medical or legal)                       Case Matter                                     Petition for Name Change
     Other Non-PUPD/VVD Tort(35)                      Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                              Review                                               Claim
     Wrongful Termination (36)                    Other Judicial Review(39)                              Other Civil Petition
     Other Employment(15)                             Review of Health Officer Order
                                                      Notice of Appeal—Labor
                                                           Commissioner Appeals
CM-010[Rev. July 1.2007]                                                                                                                Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                —ifiFid privacy, please
For you protectioi                            he Clea
Thi                                                                              I   Save this form                       prfai7tkiig.forK
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.43 Page 33 of 40




                      Exhibit E
       Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.44 Page 34 of 40

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330W Broadway
 MAILING ADDRESS:     330W Broadway
 CITY AND ZIP CODE:   San Diego. CA 92101-3827
 DIVISION:            Central
 TELEPHONE NUMBER: (619)450-7070

PLAINTIFF(S)/ PETITIONER(S):                Diana Vargas

 DEFENDANT(S)! RESPONDENT(S): Costco Wholesale Corporation


 VARGAS VS COSTCO WHOLESALE CORPORATION [EFILE]
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE                                     CASE NUMBER:
                           (CIVIL)                                                            37-2022-00003327-CU-BT-CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
J udge: Carolyn Caietti                                                               Department: C-70


COMPLAINT/PETITION FILED: 01/26/2022


TYPE OF HEARING SCHEDULED                             DATE         TIME            DEPT               JUDGE
Civil Case Management Conference                      07/01/2022   09:30 am        C-70                Carolyn Caietti


Due to the COVID-19 pandemic, all Case Management Conferences (CMCs) are being conducted virtually unless there is a
court order stating otherwise. Prior to the hearing date, visit the "virtual hearings" page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.gov.
A Case Management Statement(JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court(SDSC)Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the heating, including discussions of Alternative Dispute Resolution (ADR)options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR)(SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint(SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters(SDSC Form #ADM-317)for further information.
ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                            (CIVIL)
        Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.45 Page 35 of 40



                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil)(SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.
All Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).
It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil)(SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.
On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED
FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.
The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court's website at www.sdcourt.ca.gov.




                                                                                                                                        Page:2
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.46 Page 36 of 40




                      Exhibit F
       Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.47 Page 37 of 40

                                                                                                                            FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:            330 West Broadway
  MAILING ADDRESS:          330 West Broadway
       STATE. & ZIP CODE:   San Diego, CA 92101-3827
  BRANCH NAME:              Central

  PLAINTIFF(S):        Diana Vargas

  DEFENDANT(S): Costco Wholesale Corporation

  SHORT TITLE:         VARGAS VS COSTCO WHOLESALE CORPORATION [EFILE]

                            STIPULATION TO USE ALTERNATIVE                                                    CASE NUMBER:
                               DISPUTE RESOLUTION (ADR)                                                       37-2022-00003327-CU-BT-CTL

  Judge: Carolyn Caietti                                                                           Department: C-70

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.
     El     Mediation (court-connected)                                 1
                                                                        1 Non-binding private arbitration

     El     Mediation (private)                                         El Binding private arbitration

     Li     Voluntary settlement conference (private)                   El Non-binding judicial arbitration (discovery until 15 days before trial)

     CI     Neutral evaluation (private)                                LI Non-binding judicial arbitration (discovery until 30 days before trial)

     El     Other(specify e.g., private mini-trial, private judge, etc.):




   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral:(Name)




  Altemate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                    Date:




   Name of Plaintiff                                                                       Name of Defendant




  Signature                                                                              • Signature



  Name of Plaintiffs Attomey                                                               Name of Defendant's Attorney




  Signature                                                                                Signature
  If there are more parties and/or attomeys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 01/27/2022                                                                                       JUDGE OF THE SUPERIOR COURT
SDSC CIV-359(Rev 12-10)                                                                                                                                Page: 1
                                      STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.48 Page 38 of 40




                     Exhibit G
Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.49 Page 39 of 40

                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       02/17/2022
                                                                                                       CT Log Number 541076108
   TO:         John Sullivan, Corporate Counsel
               Costco Wholesale Corporation
               LEGAL DEPT., 999 LAKE DRIVE
               ISSAQUAH, WA 98027-

   RE:         Process Served in California

   FOR:        Costco Wholesale Corporation (Domestic State: WA)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                                  Re: DIANA VARGAS, Individually and on Behalf of All Others Similarly Situated // To:
                                                     Costco Wholesale Corporation
   DOCUMENT(S) SERVED:                               --
   COURT/AGENCY:                                     None Specified
                                                     Case # 37202200003327CUBTCTL
   NATURE OF ACTION:                                 Product Liability Litigation - Breach of Warranty
   ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
   DATE AND HOUR OF SERVICE:                         By Process Server on 02/17/2022 at 02:04
   JURISDICTION SERVED :                             California
   APPEARANCE OR ANSWER DUE:                         None Specified
   ATTORNEY(S) / SENDER(S):                          None Specified
   ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/17/2022, Expected Purge Date:
                                                     02/22/2022

                                                     Image SOP

                                                     Email Notification, Nicola Merrett nmerrett@costco.com

                                                     Email Notification, John Sullivan jsullivan@costco.com

                                                     Email Notification, Joanne Hallenbeck jhallenbeck@costco.com

   REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                     330 N BRAND BLVD
                                                     STE 700
                                                     GLENDALE, CA 91203
                                                     866-665-5799
                                                     SouthTeam2@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




                                                                                                       Page 1 of 1 / AP
    Case 3:22-cv-00379-L-DEB Document 1-3 Filed 03/21/22 PageID.50 Page 40 of 40



                                                          0,Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                     Thu, Feb 17, 2022

Server Name:              Douglas Forrest




Entity Served             COSTCO WHOLESALE CORPORATION

Case Number               3 7202200003 327CUBTCTL

J urisdiction             CA




        II I I I I 11 I
